

Matter of Johnson v Uhler (2017 NY Slip Op 07910)





Matter of Johnson v Uhler


2017 NY Slip Op 07910


Decided on November 9, 2017


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 9, 2017

524489

[*1]In the Matter of JOHNATHAN JOHNSON, Appellant,
vDONALD UHLER, as Superintendent of Upstate Correctional Facility, et al., Respondents.

Calendar Date: September 19, 2017

Before: Peters, P.J., Egan Jr., Rose, Mulvey and Rumsey, JJ.


Johnathan Johnson, Malone, appellant pro se.
Eric T. Schneiderman, Attorney General, Albany (Brian D. Ginsberg of counsel), for respondents.



MEMORANDUM AND ORDER
Appeal from a judgment of the Supreme Court (Feldstein, J.), entered January 18, 2017 in Franklin County, which dismissed petitioner's application, in a proceeding pursuant to CPLR article 78, to review a determination of the Central Office Review Committee denying petitioner's grievance.
Judgment affirmed. No opinion.
Peters, P.J., Egan Jr., Rose, Mulvey and Rumsey, JJ., concur.
ORDERED that the judgment is affirmed, without costs.








